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                                   UNITED STATES DISTRICT COURT
  8                              NORTHERN DISTRICT OF CALIFORNIA
                                        OAKLAND DIVISION
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1.      ABANTE ROOTER AND PLUMBING,
 11     INC., individually and on behalf of all others
        similarly situated,                                  Case No. 4:19-cv-07966-JST
 12
2.                            Plaintiff,                     [PROPOSED] ORDER GRANTING
 13                                                          PLAINTIFF’S MOTION FOR CLASS
3.      v.
                                                             CERTIFICATION
 14
4.      UNLOCKED BUSINESS STRATEGIES,
        INC., a New York corporation, THOMAS R.              Date: TBD
 15                                                          Time: TBD
        COSTA, an individual, and MERCHANT
        INDUSTRY, LLC d/b/a SWIPE4FREE, a                    Judge: Hon. Jon S. Tigar
16                                                           Courtroom: 6, 2nd Floor
        New York limited liability company,
17
                              Defendants.
5.18                                                6.
19            WHEREAS, an alleged class action is pending before this Court entitled Abante Rooter
20     and Plumbing, Inc. v. Unlocked Business Strategies, Inc., et al., Case No. 4:19-cv-07966-JST;
21     and
22            WHEREAS, the Court has read and considered Plaintiff’s Motion for Class Certification
23     and the exhibit attached thereto (“Motion”). The Court, being fully advised in the premises, finds
24     good cause being shown,
25     IT IS HEREBY ORDERED, DECREED, AND ADJUDGED AS FOLLOWS:
26            1.      The Court finds as follows as to each of the requirements of Rule 23(a):
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 1          a.      The Class is so numerous that joinder of all members is impractical;
 2          b.      There are questions of law and fact common to the Class and, thus the
 3                  commonality requirement is met;
 4          c.      Plaintiff’s claims are typical of the Class’s claims; and
 5          d.      Both Plaintiff and its counsel have no interests adverse to the Class and are
 6                  adequate representatives.
 7          2.      The Court finds that Defendants have acted or refused to act on grounds generally
 8   applicable to the Class so as to justify certification pursuant to Rule 23(b)(2).
 9          3.      The Court also finds that the requirements to certify the Class pursuant to Rule
10   23(b)(3) are satisfied as well because common questions of law and fact predominate, and the
11   class action mechanism is superior to all other available methods of adjudication.
12          4.      Based upon the foregoing reasons, the Court grants Plaintiff’s motion for class
13   certification and finds that Plaintiff’s Complaint satisfies the requirements of Rule 23 and
14   therefore certifies the following Class:
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            Autodialed Cellphone Class: All persons in the United States who (1) on or after
16          December 4, 2015 through the date notice is sent to the Class; (2) Defendants caused
            to be called; (3) on the person’s cellphone; (4) for the same purpose as Defendants
17          called Plaintiff, including for the potential purpose of selling Defendants’ products;
            (5) from the telephone number (888) 824-6643; (6) using the same equipment that
18          was used to call the Plaintiff, and (7) for whom Defendants claims they obtained
19          prior express consent in the same manner as Defendants claims they obtained any
            prior express consent to call the Plaintiff.
20
21          5.      The Court appoints Abante Rooter and Plumbing, Inc. as Class Representative; and

22          6.      The Court appoints the Patrick H. Peluso and Taylor T. Smith of Woodrow &

23   Peluso, LLC as Class Counsel.

24   IT IS SO ORDERED.

25   Dated: ________________                                __________________________
                                                            Hon. Jon S. Tigar
26                                                          United States District Judge
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